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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                            )
FENG WANG, et al.,                          )
                                            )
             Plaintiffs,                    )
                                            )
     v.                                     )       Civil Action No. 18-cv-1732 (TSC)
                                            )
                                            )
MICHAEL R. POMPEO, et al.,                  )
                                            )
                                            )
                                            )
             Defendants.                    )
                                            )

                                           ORDER

      Before the court are Plaintiffs’ Motion for Class Certification (ECF No. 6);

Invest in the USA’s Motion for Leave to File Brief of Amicus Curiae (ECF No. 22); and

Defendants’ Motion to Stay Defendants’ Obligation to Answer Complaint (ECF No.

23). Having considered all relevant submissions, the court hereby orders the following:

   1. The parties shall, by October 15, 2018 at 5:00 p.m., either A) submit a Proposed Order

      for Provisional Class Certification for the sole purpose of resolving Plaintiffs’ Motion for

      Preliminary Injunction and any timely filed Motion to Dismiss or Motion for Summary

      Judgment (ECF Nos. 6, 10, 11); or B) indicate that the parties wish to rely on the

      Proposed Order (ECF No. 10-1) in Defendants’ Response to Plaintiffs’ Motion for Class

      Certification.

   2. Invest in the USA’s Motion for Leave to File Brief of Amicus Curiae (ECF No. 22) is

      GRANTED.


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   3. Defendants shall file a response, if any, to Invest in the USA’s amicus brief by October

      26, 2018 at 5:00 p.m. The response shall be no more than ten pages and shall address

      only new arguments raised in Invest in the USA’s brief.

   4. There shall be no further briefing regarding Invest in the USA’s amicus brief or

      Plaintiffs’ Motion for Preliminary Injunction, absent leave of the court.

   5. Defendants’ Motion to Stay their Obligation to Answer Complaint (ECF No. 23) is

      GRANTED IN PART. Defendants shall file their response to the Complaint within 14

      days of the court’s decision on Plaintiffs’ Motion for Preliminary Injunction, absent

      further order of the court.



Date: October 10, 2018


                                            Tanya S. Chutkan
                                            TANYA S. CHUTKAN
                                            United States District Judge




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